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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:11CR250
                              )
          v.                  )
                              )
STEVE McKNIGHT, a/k/a STEPHEN )                       ORDER
B. McKNIGHT,                  )
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on the motion to extend

time for filing objections to presentence investigation report

(Filing No. 43), and on the motion to withdraw as counsel (Filing

No. 44) filed by Stefanie Martinez.          The Court finds the motions

should be granted.      Accordingly,

            IT IS ORDERED:

            1) The motion to withdraw as counsel is granted.

Stefanie Martinez is deemed withdrawn as counsel for defendant

Steve McKnight.

            2) Jessica P. Douglas, 1001 Farnam Street, Third Floor,

Omaha, Nebraska, 68102, is appointed to represent defendant

McKnight.
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          3) The motion to extend time for filing objections to

presentence investigation report is granted; counsel shall have

until January 27, 2012, to file such objections

          DATED this 19th day of January, 2012.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
